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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 BRENDAN HANEY, GERALD REED, and
 TROY SMITH, individually and on behalf
 of all others similarly situated,

        Plaintiffs,
 v.                                          Case No.: 3:18-cv-1011-TJC-LLL

 COSTA DEL MAR, INC.,
 a Florida corporation,

     Defendant.
 ____________________________/

      PLAINTIFFS’ RESPONSE IN OPPOSITION TO VALLS’ MOTION
                    FOR LEAVE TO FILE A REPLY

       Plaintiffs oppose Valls’ Motion for Leave to File a Reply in Support of his

 Motion for Attorneys’ Fees [Doc. 171; Motion for Leave]. Valls should not be

 permitted to file another brief—for which he will seek additional attorneys’ fees

 from the class—to simply reiterate the same arguments that he (and the other two

 Objectors) have already made to this Court in numerous prior filings including in

 the argument-laden Motion for Leave. The Court is well equipped to determine

 whether any of Valls’ objections to the settlement “were adopted by the Court,” as

 he contends in the Motion, without the need for yet another brief. The proposed

 reply from Valls would simply not “aid the Court” in determining the reasons for

 the Court’s prior order. Accordingly, the Motion for Leave should be denied.
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         Respectfully submitted this 1st day of December, 2021.

                                        HOLLAND & KNIGHT LLP

                                        /s/ Peter P. Hargitai
                                        Peter P. Hargitai (FBN 85375)
                                        peter.hargitai@hklaw.com
                                        Joshua H. Roberts (FBN 042029)
                                        joshua.roberts@hklaw.com
                                        Laura B. Renstrom (FBN 108019)
                                        laura.renstrom@hklaw.com
                                        Michael M. Gropper (FBN 105959)
                                        michael.gropper@hklaw.com
                                        50 North Laura Street, Suite 3900
                                        Jacksonville, Florida 32202
                                        Telephone: (904) 353-2000
                                        Facsimile: (904) 358-1872

                                        Attorneys for Plaintiffs and the Class




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